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12.'6!2()§7 Gmail - Ru[e 26 meeting

 

Ctiart§e t.opez <cher|ietopez@gmail.com>

 

 

Ruie 26 meeting
2 messages

 

Jaime £.uis Sanabria Montanez <§sanaloria@sbgblaw.com> Wed, Aog 30, zt}f? at 2:38 Pl\il
io: “Carlos t:. Lopez" <cnarlieionez@gma§t.com>
Co: Arturo V Badermeister <abaoerme§ster@st>golavv.corn>, l'\/lanuel Martin <mmartin@sbgblaw‘corn>

Dear Cnartie and i:’acoj

As usual, it was a pteasure meeting with you Monday morning. 't`his emaii memorializes i\/tonday morning*s
Ru|e 26 meeting, where we reached the foi|owing agreements:

As to P|aintiffs’ Request Nor 2, aft agreed tnat, assuming they exist, the defendants wouid produce the
"rninutes of the meeting of the trustees to estabiisn the plan.” Atl also agreed that the defendants wouid not
be Waivirig any privileges or otherwise be barred from protecting any confidential information Tne
defendants aiso agreed to search for the “PBGC regarding coverage of Titie tV of ERtSA in Puerto Rico,”
and, if it does not exist, to so certify it to the plaintiffs (En a sign of good faith, moreover, the defendants
agreed to an dnreiated request to produce the Spanish version of the “Pian Doct,irnent of Archdiocese of
San Juan Pension Plan.”)

As to Piaintiffs’ Request l\io. 3, the defendants Wil! do their best good~faith effort to find these purported plan
summaries (ln a sign of good feith, moreover, the piatntiffs agreed to an unrelated request to send to the
defendants the two purported versions of tne plan summaries in question~)

As to Ptaintiffs' Request No. 5, the parties found common ground and decided that the defendants Would
seppiement their proddction end trees produce on!y tire names of the administrators

As to Piaintiffs’ Request No. 8, the defendants agreed to furnish the requested information

As to Plaintiffsl Request No. 13, the defendants in a good-faith effort to soive the impasse agreed to
attempt to find the requested information (regarding any investment brokers, etc,).

As to Plaintifis’ Reduest i\io. 14 and 15, the defendants in a good-faith effort to solve the impasse, agreed to
attempt to find the requested information Aii also agreed that the defendants Wou|d not be Wa§ving any
priviieges or otherwise be barred from protecting any confidential information

/¢`-\s to Piaintiffs’ Reqdest/interrogatories 17, 13, and 19, the piaintiffsi in a good-faith effort agreed to set
them aside, as ali parties agreed that they Were arguments that Were better suited for a motion or response
thereto

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And, as to Piaintiffs’ Reqiiest i\loK 2t, the defendants witt provide a brief description of each document

Finaliy, aft agreed that a confidentiatity agreement/entry of protective order was in order. And, in the spirit of
finding further common ground, we suggest that we jointiy ask the Court to stay both your deadiine to
oppose to our motion to strike and the deadtine to oppose your motion to compel (this Thorsday) for three
weeks-~so that we can focus ail our energies in trying to solve the discovery impasses

Cordlaiiy,

Jaime t_, Sanabria Montaitez | SBGB LLC
Tei. YB?\SG¢BG€M| Fax. ?'87.33 Caiie Resoiucion § Suite 262 § San deere ?Ft 9€}92®

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This emai| may contain priviieged and confidential information it you received this message in error, please
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Jaime Luis Sanabria Niontanez <jsanabria@sbgbiaw.com> Wed, Aug 30, 20f7 at 2139 ile

To: "Car|os F. Lopez`* <chariieiopez@gmaiicorn>
Cc: Arturo V Bauerrneister <abauermeister@st)gtdlavv.corn>, "franl<zorriiiaZ@gmaii.com" <frani<zorrittaZ@grnaii.con'i>, Mandel

t/iartin <rnrnartin@s§)goiaw.com>

§Quoted text nidden]

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